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GAS 245D          (Rev. 09/11) Judgment in a Criminal Case for Revocations
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                                                                                                                     AOuUiilA DIV.
                                          United States District Comjffgjp,, ,3
                                                               Southern District of Georgia
                                                                    Augusta Division
                                                                                                   CLERKS   _
              UNITED STATES OF AMERICA                                                 JUDGMENT IN A CiaO^NAIDiCill
                                   V.
                                                                                    (For Revocation of Probation or Supervised Release)
                       Shonta Merriweather
                                                                                       Case Number:            1;13CR00056-2

                                                                                       USM Number:             17968-021

                                                                                       James S. V. Weston
                                                                                       Defendant's Attorney
THE DEFENDANT:

lEl admitted guilt to violation of mandatory condition ofthe term of supervision.
□ was found in violation of conditions(s)                                                         after denial of guilt.

The defendant is adjudicated guilty of these offenses:

   Violation Number               Nature of Violation                                                                      Violation Ended


              1                   The defendant failed to refrain from unlawful use of a controlled substance              March 7,2018
                                  (mandatory condition).




           The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

□ The defendant has not violated condition(s)                                                   and is discharged as to such violation(s) condition.


          It is ordered that the defendant must notify the United States Attomey for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the Court and United States Attomey of material changes in economic circumstances.

                                                                             April 18.2018
Last Four Digits of Defendant's Soc. Sec: 6177                               Date of ImpositjoirSrJudgljient
                                                                                          /




Defendant's Year of Birth: 1972
                                                                             Signatu


City and State of Defendant's Residence:

Augusta. Georgia                                                             J. RANDAL HALE, CHIEF JUDGE
                                                                             UNITED STATES DISTRICT COURT
                                                                             SOUTHERN DISTRICT OF GEORGIA

                                                                             Name and Title of Judge


                                                                                         ul/'rJzsli
                                                                             Date
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DEFENDANT:                   Shonta Merriweather
CASE NUMBER:                 1:13CR00056-2




                                                                  IMPRISONMENT

         The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a
total term of:     10 months, with no term of supervision to follow.




     □      The Court makes the following recommendations to the Bureau of Prisons:




     lEI    The defendant is remanded to the custody of the United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:

           □     at                                  □         a.m.      □      p.m.    on

           □     as notified by the United States Marshal.

     □      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           □     before 2 p.m. on
           □     as notified by the United States Marshal.

           □     as notified by the Probation or Pretrial Services Office.


                                                                          RETURN

I have executed this judgment as follows:




           Defendant delivered on                                                             to

at                                                       , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL




                                                                                   By
                                                                                                     DEPUTY UNITED STATES MARSHAL
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                                                                                                                     Judgment— Page 3 of4
DEFENDANT:              Shonta Merriweather
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                                            CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                 Assessment                  Trafficking Act Assessment                  Fine                     Restitution

TOTALS                                                                                                            Original restitution is
                                                                                                                  reimposed with credit for all
                                                                                                                  monies paid

□     The determination of restitution is deferred until                    . An Amended Judgment in a Criminal Case(A0245C) will be entered
      after such determination.


□     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                               Total Loss*                             Restitution Ordered                 Priority or Percentage




TOTALS


□     Restitution amount ordered pursuant to plea agreement $

□     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     □     the interest requirement is waived for            □       fine      □      restitution.

     □     the interest requirement for          □       fine     □         restitution is modified as follows:

□    The court determined that the defendant is         □ indigent □ non-indigent under the Justice for Victims of Trafficking Act of 2015.

* Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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                                                                                                                    Judgment— Page 4 of4
DEFENDANT:                 Shonta Merriweather
CASE NUMBER:               1:13CR00056-2




                                                        SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A    □ Lump sum payment of $                                    due immediately, balance due

           □    not later than                                       , or
           □    in accordance           □ C,        □      D     □           E, or   □     F below; or

B    Kl Payment to begin immediately (may be combined with                           DC,      □   D, or   H F below); or

C    □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    □ Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                    (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release jfrom imprisonment to a
           term of supervision; or

E    □ Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
       imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    lEI   Special instructions regarding the payment of criminal monetary penalties:
           Payments shall be made payable to the Clerk, United States District Court, P. O. Box 1130, Augusta, Georgia 30903.


Unless the court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

Pursuant to 18 U.S.C. § 3572(d)(3), the defendant shall notify the Court of any material change in the defendant's economic circumstances
that might affect the defendant's ability to pay the fine.


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

□      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

□      The defendant shall pay the cost of prosecution,

□      The defendant shall pay the following court cost(s):
□      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
